His Honor, Judge Norwood, informed the jury that if the sale by Barnes to the plaintiff was fraudulent and void as to creditors, yet it was valid between the parties to it, and that a creditor could not avoid the sale by taking possession of the property fraudulently conveyed, but must levy his execution upon it, and that any other taking, however fraudulent the sale might be, rendered the creditor a trespasser and subjected him to this action.
The jury returned a verdict for the plaintiff, and the defendant appealed.
The charge of the judge in this case was certainly correct. The statutes against fraudulent conveyances in favor of creditors can only be carried into effect by due process of law. If the sale of the colt in this case was fraudulent as to creditors, Ward's execution should have been levied upon it in the hands of the plaintiff. But the defendant had no right to be a judge in his own cause, and seize upon it on that account. The sale between the parties was good and valid, and the defendant, in taking the property, acted as a wrongdoer.
PER CURIAM.      Judgment affirmed.
Approved: Green v. Kornegay, 49 N.C. 66; Moore v. Ragland,  74 N.C. 343;Bynum v. Miller, 86 N.C. 559; Peebles v. Pate, 90 N.C. 348.
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